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                                                               U.S. Department of Justice
                                                               United States Attorney
                                                               Western District of New York

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                                                               October 30, 2024

 VIA PACER
 Honorable Lawrence J. Vilardo
 United States District Court Judge
 2 Niagara Square
 Buffalo, New York 14202

            RE:    Motion to Show Cause
                   United States v. Gogolack, et al., 23-CR-99

 Dear Judge Vilardo:

         On September 30, 2024, United States Magistrate Judge H. Kenneth Schroeder, Jr., issued
 a search warrant authorizing agents from the FBI to retrieve a DNA sample from defendant Simon
 Gogolack. On October 7, 2024, the FBI attempted to execute that warrant. See Mot. to Show
 Cause at 1, (dated Oct. 17, 2024). Mr. Gogolack refused to comply and made statements that
 agents interpreted as threats. See id. On October 17th, the undersigned filed a motion to show
 cause related to Mr. Gogolack’s contempt. See generally id. The Court scheduled a hearing on
 the government’s motion for October 23, 2024, at which time the Court was also to hear oral
 argument regarding the government’s appeal of the Magistrate Court’s finding of bad faith and
 imposition of sanctions. Prior to that hearing, the undersigned conferred with Mr. Gogolack’s
 counsel, who stated that Mr. Gogolack would comply with the search warrant. 1 Based on that
 representation, the undersigned did press the government’s motion to show cause during the
 October 23rd hearing.
          On October 29, 2024, special agents with the FBI traveled from Buffalo to Ohio, where
 Mr. Gogolack is detained, to acquire a DNA swab from him. Once again, Mr. Gogolack refused
 to provide a sample. Furthermore, Mr. Gogolack stated, in sum and substance, that he only told
 his attorneys he would comply with the warrant to frustrate and inconvenience the FBI when they
 ultimately attempted to obtain the sample.
        Due to Mr. Gogolack’s repeated contempt, the government would request a hearing on its
 motion to show cause. Moreover, insofar as Mr. Gogolack claims that there is “no good cause to
 support” the government’s request that he only be permitted to view discovery in this case with an
 attorney present, see Resp. in Opp. to Gov. Prop. Protective Order at 2, ECF No. 280, (dated Oct.



        1
                   On October 25th, the Court reached out to counsel for the government and Mr. Gogolack to inquire
as to the status of the government’s motion. The government asked the Court to hold the motion in abeyance until
Mr. Gogolack complied with the warrant.
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29, 2024), his contemptuous, deceitful conduct, by itself, is a basis to place reasonable restrictions
on his access to the discovery. 2



                                                      Very respectfully,

                                                      TRINI E. ROSS
                                                      United States Attorney


                                             BY:      Casey L. Chalbeck
                                                      Assistant United States Attorney




         2
                   In addition, as has been previously raised in this litigation, Mr. Gogolack made a Facebook post
threatening to sell his discovery.


                                                          2
